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                           Exhibit C
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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF QUEENS
          -----------------------------------------------------------------------X
          IGNANTIOS MASTELLOS and ERATO MASTELLOS,

                                                        Plaintiffs,                  Index No.: 704139/2016

                                        -against-                                    JPW INDUSTRIES, INC.’S
                                                                                     VERIFIED ANSWER TO
          POWERMATIC,                                                                PLAINTIFF’S
                                                                                     COMPLAINT
                                                         Defendant.
          -----------------------------------------------------------------------X


                 JPW Industries, Inc., improperly named as Powermatic, (“JPW”) for its Answer

         and Affirmative and Other Defenses to Plaintiffs’ Complaint states as follows:

                                     AS FOR A FIRST CAUSE OF ACTION ON
                                      BEHALF OF IGNANTIOS MASTELLOS

              1.     At all times herein mentioned, Plaintiffs were and still are residents of the
         County of Queens, State of New York.

                 ANSWER:            JPW lacks knowledge or information sufficient to form a belief as

         to the truth of the allegations contained in this paragraph.


                2.     That at all times herein mentioned, Defendant Powermatic, was and still is
         a domestic corporation, foreign corporation or other legal entity duly organized and
         existing under and by virtue of the laws of the State of Tennessee and doing business
         within the State of New York.

                 ANSWER:           JPW admits only that it is a corporation organized under the laws

         of the State of Washington and that its principal place of business is located in the

         State of Tennessee. JPW denies the remaining allegations contained in this paragraph.




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      3.      That Defendant Powermatic committed a tortious act within the State of
 New York.

       ANSWER: Denied.


       4.     That Defendant, Powermatic regularly does, or solicits, business in the State
 of New York.

       ANSWER:       JPW lacks knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in this paragraph.


        5.   That Defendant Powermatic received substantial revenue from goods used
 or consumed, or services rendered, in the State of New York.

       ANSWER:        JPW knowledge or information sufficient to form a belief as to the

 truth of the allegations contained in this paragraph.


        6.      That at all times herein mentioned the Defendant Powermatic was in the
 business of selling, manufacturing and distributing a Powermatic table saw, Model No.
 66, Serial No. 7956706 for the purpose of sale and use to the general public.

       ANSWER:       Denied.


        7.      That at all times herein mentioned the Defendant Powermatic was in the
 business of selling, manufacturing and distributing a Powermatic table saw, Model No.
 66, Serial No. 7956706 for the purpose of sale and use to businesses.

       ANSWER:       Denied.


        8.     That the Defendant Powermatic designed, manufactured, assembled,
 created, tested, inspected, produced, marketed, imported, distributed, marketed and sold
 a certain product called a Powermatic table saw, Model No. 66, Serial No. 7956706.

       ANSWER:       Denied.




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         9.     That at all times herein mentioned, and prior to October 16, 2013, the
 Defendant, Powermatic, manufactured, sold, distributed and delivered to various
 retailers the above mentioned product.

       ANSWER:       Denied.


        10.     That on October 16, 2013, Plaintiff Ignantios Mastellos used said product of
 Defendant Powermatic while in the course of his employment, in the manner intended
 and/or foreseeably intended, when the product malfunctioned, failed, jammed, and/or
 otherwise caused injury to the plaintiff, thereby causing severe and catastrophic personal
 injuries to plaintiff.

       ANSWER:       Denied.


       11.    That the Defendant Powermatic warranted said product was fit for the
 purpose for which it was intended.

       ANSWER:       Denied.


        12.   That the Defendant Powermatic warranted that said product was safe to use
 in every respect, and had been designed, created, assembled and manufactured safely
 and warranted that it was good, safe and proper to use.

       ANSWER:       Denied.


       13.   That the Defendant Powermatic impliedly warranted that the said product
 was of merchantable quality and was safe for use.

       ANSWER:       Denied.


       14.     That the Defendant Powermatic designed, created, manufactured,
 assembled, tested, inspected, produced, marketed, imported, distributed and sold a certain
 Powermatic table saw, Model No. 66, Serial No. 7956706 which caused Plaintiff, Ignantios
 Mastellos, to suffer severe and permanent personal injuries.

       ANSWER:       Denied.




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        15.     That relying upon said warranties, Plaintiff Ignantios Mastellos proceeded
 to use the said product in accordance with its intended use.

       ANSWER:       Denied.


       16.   That Defendant Powermatic warranted and labeled its product and
 provided certain written instructions on said label in connection with the use of the
 product.

       ANSWER:       Denied.


        17.    That on October 16, 2013, the Plaintiff Ignantios Mastellos while using the
 product in accordance with its intended use and pursuant to the written instructions set
 forth on the aforesaid label, was caused to suffer and sustain severe bodily injuries.

       ANSWER:       JPW lacks knowledge or information sufficient to allow it to admit

 or deny the allegations contained in this paragraph.


        18.     That the aforesaid injuries were caused without any fault and/or negligence
 on the part of the Plaintiff Ignantios Mastellos contributing thereto.

       ANSWER:       JPW lacks knowledge or information sufficient to allow it to admit

 or deny the allegations contained in this paragraph.


       19.    That the aforesaid accident was caused solely and wholly by reason that
 Defendant Powermatic breached their warranties of merchantability and fitness for
 intended use of the said product which warranties were both express and implied.

       ANSWER:       Denied.


        20.    That the carelessness and recklessness of the Defendant, Powermatic, in the
 design, creation, manufacture, assembly, testing, inspection, production, sales,
 distribution and selling of the aforesaid Powermatic table saw, Model No. 66, Serial No.
 7956706 which was subject to such foreseeable occurrence and in failing to provide proper
 instructions or warnings; in designing, manufacturing, and placing into the stream of
 commerce, an inherently and unreasonably dangerous product when used in the ordinary
 and usual manner; in designing, manufacturing, assembling and distributing a
 Powermatic table saw, Model No. 66, Serial No. 7956706 which was unfit for its intended

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 purposes and was dangerous and unsafe; in failing to warn properly of the dangerous
 character and quality of the aforesaid Powermatic table saw, Model No. 66, Serial No.
 7956706, in using defective materials; in failing to warn of its proper use; in failing to
 properly test and inspect the product during manufacturing and assembly process; in
 negligently and carelessly warranting, representing and advertising that the Powermatic
 table saw, Model No. 66, Serial No. 7956706 was safe and free from danger when used in
 the customary and usual manner; in failing to give proper instructions, warnings and
 cautions; in failing to maintain the Powermatic table saw, Model No. 66, Serial No.
 7956706 which endangered the life and limb of its users; in failing to manufacture, design
 and placing into the stream of commerce a Powermatic table saw, Model No. 66, Serial
 No. 7956706 which was not properly designed, manufactured and assembled; in failing
 to comply with the applicable laws, rules and regulations; and Defendant, Powermatic,
 was otherwise negligent in the operation, supervision and maintenance of said device.

         ANSWER:      Denied.


        21.     That by reason of the foregoing, Plaintiff Ignantios Mastellos was caused to
 sustain serious injuries and to have suffered pain, shock and mental anguish; that these
 injuries and their effects will be permanent; and as a result of said injuries Plaintiff
 Ignantios Mastellos has been caused to incur, and will continue to incur, expenses for
 medical care and attention; and, as a further result, Plaintiff was, and will continue to be,
 rendered unable to perform Plaintiff s normal activities and duties and has sustained a
 resultant loss therefrom.

         ANSWER:      Denied.


         22.   That this action falls within one or more exception set forth in § 1602 of the
 CPLR.

         ANSWER:      JPW lacks knowledge or information sufficient to allow it to admit

 or deny the allegations contained in this paragraph.


        23.     That as a result of the foregoing, Plaintiff Ignantios Mastellos was damaged
 in a sum which exceeds the jurisdictional limits of all lower courts which would otherwise
 have jurisdiction.

         ANSWER:      Denied.




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                     AS AND FOR A SECOND CAUSE OF ACTION
                      ON BEHALF OF IGNANTIOS MASTELLOS

        24.    Plaintiff Ignantios Mastellos repeats, reiterates and realleges each and every
 allegation contained in the First Cause of Action, together with the same force and effect
 as though set forth at length herein.

        ANSWER:       JPW reasserts its answers to each allegation contained in the

 First Cause of Action.


       25.    That at all times hereinafter mentioned, the Defendant Powermatic
 designed, manufactured and distributed the Powermatic table saw, Model No. 66, Serial
 No. 7956706 in question, knowing and intending for it to be used by the public.

        ANSWER:       Denied.


         26.   That on October 16, 2013, while Plaintiff Ignantios Mastellos was making
 use of the aforesaid Powermatic table saw, Model No. 66, Serial No. 7956706, in a manner
 which the Defendant, Powermatic, knew and intended to be used and/or in a manner
 foreseeable by the Defendant.

        ANSWER:       Denied.


         27.   That the said product was defective and that said defect was a substantial
 factor in causing the injury to the Plaintiff Ignantios Mastellos.

        ANSWER:       Denied.


       28.    That on October 16, 2013, Plaintiff Ignantios Mastellos, used the product for
 the purpose and use normally intended.

        ANSWER:       JPW is without knowledge or information sufficient to form a

 belief as to the truth of the allegations contained in this paragraph.




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        29.     That on October 16, 2013, while Plaintiff Ignantios Mastellos was using the
 said product, which was without any guards or warnings, malfunctioned causing
 Plaintiff to suffer severe bodily injuries.

       ANSWER:       JPW lacks knowledge or information sufficient to allow it to form

 a belief as to the truth of the allegations contained in this paragraph.


        30.    That upon information and belief, the Powermatic table saw, Model No. 66,
 Serial No. 7956706 in question was defective in that, among other things, it was made of
 improper and defective material; it was improperly designed; it was improperly
 manufactured; it failed to have adequate and proper warnings or instructions; it was not
 safe to be used for the purposes intended; it was inherently and/or unreasonably
 dangerous; it will cause severe injuries while being used and the product was otherwise
 defective.

       ANSWER:       Denied.


        31.    That on October 16, 2013, while Plaintiff Ignantios Mastellos was caused to
 sustain those bodily injuries through no fault or carelessness of his own, but due wholly
 and solely to the acts and/or omissions which constituted the negligence of the
 Defendant, Powermatic, their agents, servants, employees and/or licensees in
 improperly and negligently manufacturing, designing, producing, distributing and
 maintaining said product for use by businesses and the general public; and in otherwise
 being careless and negligent.

       ANSWER:       Denied.


       32.     That by reason of the foregoing, the Defendant, Powermatic, their agents,
 servants, employees and/or licensees are liable to Plaintiff in strict liability and tort,
 and/or strict product liability.

       ANSWER:       Denied.


        33.   That by reason of the foregoing Defendants are liable to the Plaintiff,
 Ignantios Mastellos, under the doctrine of Strict Products Liability and pursuant to
 Section 402A-Restatement of Torts Second.

       ANSWER:       Denied.



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       34.    That by reason of the foregoing, Plaintiff, Ignantios Mastellos, has been
 damaged in a sum which exceeds the jurisdictional limits of all lower courts which would
 otherwise have jurisdiction.

       ANSWER:       Denied.


                     AS AND FOR A THIRD CAUSE OF ACTION
                     ON BEHALF OF IGNANTIOS MASTELLOS

        35.    Plaintiff Ignantios Mastellos, repeats, reiterates and realleges each and
 every allegation contained in the First and Second Causes of Action herein, together with
 the same force and effect, as though set forth at length herein.

       ANSWER:       JPW reasserts its answers to each allegation contained in the

 First and Second Causes of Action.


         36.    That Defendant, Powermatic, their agents, servants, and/or employees
 expressly or impliedly warranted and represented to the Plaintiff that the aforesaid
 Powermatic table saw, Model No. 66, Serial No. 7956706 was safe, proper, merchantable
 and fixable, foreseeable and intended uses for which it was designed, manufactured and
 assembled; that it was not a danger to the user; that it would not be dangerous or present
 a risk of injury; that it was free from defects, was reasonably safe, was of merchantable
 quality and reasonably fit for the purposes for which it was designed, manufactured,
 assembled, inspected, tested, sold and purchased and intended to be used.

       ANSWER:       Denied.


        37.    That in creating, designing, manufacturing, assembling, testing, inspecting,
 distributing and selling the aforesaid Powermatic table saw, Model No. 66, Serial No.
 7956706, the Defendant, Powermatic, their agents, servants and/or employees knew that
 the Powermatic table saw, Model No. 66, Serial No. 7956706 would be used and the users
 of said Powermatic table saw, Model No. 66, Serial No. 7956706 would rely upon the
 expressed and implied warranties and representations that the said Powermatic table
 saw, Model No. 66, Serial No. 7956706 was safe, proper, merchantable and fit for its
 intended uses and was free from any defects.

       ANSWER:       Denied.




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        38.    That by reason of the foregoing, the Defendant, Powermatic, violated and
 breached the aforementioned express and implied warranties and that the Powermatic
 table saw, Model No. 66, Serial No. 7956706 was not reasonably fit, not of merchantable
 quality, unfit for its intended uses, unsafe, defective, and constituted on a reasonably
 dangerous instrumentality as designed, manufactured, assembled, inspected, tested, sold
 and distributed.

       ANSWER:       Denied.


        39.    That Plaintiff Ignantios Mastellos was caused to sustain those bodily
 injuries through no fault or carelessness of his own, but due wholly and solely to the
 acts and/or omissions which constituted the negligence of the Defendant,
 Powermatic, their agents, servants, employees and/or licensees in improperly and
 negligently manufacturing, assembling, testing, inspecting, producing, marketing,
 importing, distributing and selling said product for use by the general public; and in
 otherwise being careless and negligent.

       ANSWER: Denied.


      40.   That by reason of the foregoing, Plaintiff Ignantios Mastellos has been
 damaged in a sum which exceeds the jurisdictional limits of all lower courts which
 would otherwise have jurisdiction.

       ANSWER: Denied.


                    AS AND FOR A FOURTH CAUSE OF ACTION
                       ON BEHALF OF ERATO MASTERLLOS

       41.    Plaintiff Erato Mastellos, repeats, reiterates and realleges each and
 every allegation contained in the First, Second and Third Causes of Action herein,
 together with the same force and effect, as though set forth at length herein.

       ANSWER: JPW reasserts its answers to each allegation contained in the

 First, Second and Third Causes of Action.




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        42.   That at all times herein mentioned, Plaintiff Erato Mastellos was the
 spouse of the Plaintiff Ignantios Mastellos and as such was entitled to the society,
 services and consortium of her spouse Ignantios Mastellos.

        ANSWER:         JPW lacks knowledge or information sufficient to form a belief as

 to the truth of the allegations contained in this paragraph.


        43.    That by reason of the foregoing, Plaintiff Erato Mastellos was deprived
 of the society, services and consortium of the Plaintiff Ignantios Mastellos and shall
 forever be deprived of said society, services and consortium.

        ANSWER: Denied.


       44.   That by reason of the foregoing, Plaintiff Erato Mastellos was damaged
 in a sum which exceeds the jurisdictional limits of all lower courts which would
 otherwise have jurisdiction.

        ANSWER: Denied.


                   AS AND FOR A FIRST AFFIRMATIVE DEFENSE

       This action must be dismissed because this Court lacks personal jurisdiction over

 JPW Industries, Inc.

                 AS AND FOR A SECOND AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim against JPW upon which relief can be

 granted.

                   AS AND FOR A THIRD AFFIRMATIVE DEFENSE

       In accordance with the Order Authorizing Debtor to Sell “Powermatic Assets”

 Free and Clear of Liens, Encumbrances and Interests, entered by the U.S. Bankruptcy

 Court for the Northern District of Ohio on September 29, 1999, JPW has no liability for

 the damages sought in this action if the Powermatic saw which is the subject of this action


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 was manufactured and sold prior to October 15, 1999.

                 AS AND FOR A FOURTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by an applicable statute of limitations.


                   AS AND FOR A FIFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by an applicable statute of repose.


                  AS AND FOR A SIXTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the doctrine of laches.


                AS AND FOR A SEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the product’s limited warranty.


                AS AND FOR AN EIGHTH AFFIRMATIVE DEFENSE

       Plaintiff’s warranty claims are barred by plaintiff’s failure to give timely notice of

 the alleged breach.

                  AS AND FOR A NINTH AFFIRMATIVE DEFENSE

       Plaintiff’s warranty claims are barred to the extent changes or alterations were

 made to the product that voided the alleged warranties.

                  AS AND FOR A TENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by material misuse, abuse, or alteration of the product

 in question.

                AS AND FOR A ELEVENTH AFFIRMATIVE DEFENSE

       Pursuant to Article 14-A of the Civil Practice Law and Rules, the amount of

 damages recoverable by Plaintiff, if any, must be diminished by reason of the culpable


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 conduct attributable to Plaintiff, including contributory negligence and assumption of

 risk, in the proportion which the culpable conduct attributable to Plaintiff bears to the

 culpable conduct which caused the damage.

               AS AND FOR AN ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred, in whole or in part, because the product was not used

 in a reasonably foreseeable manner or in the manner for which it was intended.

                AS AND FOR A TWELFTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by the sophisticated user doctrine.


              AS AND FOR A THIRTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred because his alleged injuries were the result of an open

 and obvious danger or hazard known to plaintiff.


               AS AND FOR A FOURTEETH AFFIRMATIVE DEFENSE

       Plaintiff’s claims are barred by his express or implied assumption of risks, dangers

 or hazards known by Plaintiff.


                AS AND FOR A FIFTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims fail because his alleged injuries were caused by persons over

 whom JPW has no control, right to control, and for whose conduct JPW is not responsible.


               AS AND FOR A SIXTEENTH AFFIRMATIVE DEFENSE

       Plaintiff’s claims fail because his alleged injuries were caused by the superseding

 and intervening acts of persons other than JPW.


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               AS AND FOR A SEVENTEENTH AFFIRMATIVE DEFENSE

        If JPW is found liable, its liability would be less than or equal to 50% of the total

 liability of all liable persons, and therefore JPW’s liability shall be limited to its equitable

 share pursuant to CPLR Article 16.


               AS AND FOR AN EIGHTEENTH AFFIRMATIVE DEFENSE

        Any recovery by Plaintiff must be reduced by collateral source payments pursuant

 to CPLR Sec. 4545(c).


               AS AND FOR A NINETEENTH AFFIRMATIVE DEFENSE

        If Plaintiff has or does settle with any alleged joint tortfeasor, JPW is entitled to the

 full benefit of Section 15-108 of the General Obligations Law.


                AS AND FOR A TWENTIETH AFFIRMATIVE DEFENSE

        Plaintiff has failed to mitigate his damages.


               AS AND FOR A TWENTY-FIRST AFFIRMATIVE DEFENSE

        To the extent the product allegedly at issue was substantially or materially

 modified or altered after its manufacture and/or sale, JPW cannot be held liable to

 Plaintiff.


              AS AND FOR A TWENTY-SECOND AFFIRMATIVE DEFENSE

        JPW reserves the right to amend its Answer and add any additional affirmative

 defenses which become applicable after the substantial completion of discovery.



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       WHEREFORE, JPW respectfully requests that the Court dismiss Plaintiff’s

 Complaint in its entirety and with prejudice, and award JPW its costs and attorneys’ fees.

 JPW also requests any other relief that the Court deems just and appropriate.


  DATED:       August 6, 2016


                                               Respectfully Submitted,

                                               JPW INDUSTRIES, INC.


                                         By:   /s/ Joshua D. Lee
                                                        One of Its Attorneys

                                               Joshua D. Lee
                                               Ryan P. Poscablo
                                               RILEY SAFER HOLMES & CANCILA LLP
                                               85 Broad Street
                                               New York, New York 10004
                                               (212) 660-1000




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                              ATTORNEY VERIFICATION

       Joshua D. Lee, an attorney duly admitted to practice before the Courts of the State

 of New York, affirms the following to be true: I am an attorney at Riley Safer Holmes &

 Cancila LLP, counsel for the Defendant JPW Industries, Inc.         I have reviewed the

 foregoing Answer to Plaintiff’s Complaint, and know the contents thereof.             The

 statements made in the Answer are true to my knowledge, except for those matters which

 are stated to be alleged on information or belief, and as to those matters, I believe them

 to be true. My belief as to those matters not alleged based on knowledge is based upon

 facts, records, and/or other pertinent information contained in my files.

       This verification is made by me, because JPW Industries, Inc. is not located in the

 county where I maintain my offices.



  Dated:       August 6, 2016


                                                           /s/ Joshua D. Lee


                                               RILEY SAFER HOLMES & CANCILA LLP
                                               85 Broad Street
                                               New York, New York 10004
                                               (212) 660-1000




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  SUPREME COURT OF THE STATE OF NEW YORK
  COUNTY OF QUEENS

  IGNANTIOS MASTELLOS and ERATO MASTELLOS,

                                                           Plaintiffs,

                                    -against-

  POWERMATIC,

                                                           Defendant.

    JPW INDUSTRIES, INC.’S VERIFIED ANSWER TO PLANTIFF’S COMPLAINT


                        RILEY SAFER HOLMES & CANCILA LLP
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 Queens Supreme COURT, COUNTY OF Queens
                                                                                                                                                   Judge Assigned
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                       Enter the complete case caption. Do not use et al or et ano. If more space is required,                                           RJI Date
 CAPTION               attach a caption rider sheet.

  Ignantios Mastellos, Erato Mastellos




                                                                                                             Plaintiff(s)
 -against-

  Powermatic




                                                                                                                                                                    Defendant(s)/Respondent

 NATURE OF ACTION OR                                                         Check ONE box only and specify where
 MATRIMONIAL                                                                                    COMMERCIAL

  ☐    Contested                                                                                ☐    Business Entity (including corporations, partnerships, LLCs, etc.)
        NOTE: For all Matrimonial actions where the parties have children under                 ☐    Contract
        the age of 18, complete and attach the MATRIMONIAL RJI Addendum.
        For Uncontested Matrimonial                                                             ☐    Insurance (where insurer is a party, except

                                                                                                ☐    UCC (including sales, negotiable instruments)
 TORTS
                                                                                                ☐    Other
  ☐    Asbestos
                                                                                                      NOTE: For Commercial Division assignment requests [22 NYCRR § 202.70(D)],
  ☐    Breast                                                                                         complete and attach the COMMERCIAL DIV RJI

                                                                                                REAL PROPERTY: How many properties does the application
  ☐    Environment
                                                                                                ☐    Condemnation
  ☐    Medical, Dental, or Podiatric
                                                                                                ☐    Mortgage Foreclosure:           ☐   Residential           ☐     Commercial
  ☐    Motor                                                                                         Property
                                                                                                     NOTE: For Mortgage Foreclosure actions involving a one- to four-family, owner-
  ☒    Products           table saw                                                                  occupied, residential property, or an owner-occupied condominium, complete and
                                                                                                     attach the FORECLOSURE RJI
  ☐    Other
                                                                                                ☐    Tax Certiorari -                            Block                  Lot
  ☐    Other Professional
                                                                                                ☐    Tax
  ☐    Other                                                                                    ☐    Other Real

 OTHER MATTERS                                                                                 SPECIAL PROCEEDINGS
  ☐    Certificate of Incorporation/Dissolution     [see NOTE under Commercial]                 ☐    CPLR Article 75 (Arbitration)     [see NOTE under Commercial]

  ☐    Emergency Medical                                                                        ☐    CPLR Article 78 (Body or

  ☐    Habeas Corpus                                                                            ☐    Election Law

  ☐    Local Court                                                                              ☐    MHL Article 9.60 (Kendra's Law)

  ☐    Mechanic's Lien                                                                          ☐    MHL Article 10 (Sex Offender Confinement-Initial)

  ☐    Name Change                                                                              ☐    MHL Article 10 (Sex Offender Confinement-Review)

  ☐    Pistol Permit Revocation                                                                 ☐    MHL Article 81

  ☐    Sale or Finance of Religious/Not-for-Profit                                              ☐    Other Mental

  ☐    Other                                                                                    ☐    Other Special

 STATUS OF ACTION OR                                                        Answer YES or NO for EVERY question AND enter additional information where

                                                                                       YES NO
      Has a summons and complaint or summons w/notice                                   ☒      ☐                 If yes, date       04/07/2016
      Has a summons and complaint or summons w/notice been                              ☒      ☐                 If yes, date         04/28/2016
      Is this action/proceeding being filed post-                                       ☐      ☒                 If yes, judgment


                                                                                         1 of 2
NATURECase  OF JUDICIAL
                     1:17-cv-00415-MKB-ST Document                     Check ONE box  1-3      Filed
                                                                                         only AND  enter01/25/17           Page
                                                                                                         additional information where43    of 55
                                                                                                                                      indicated.    PageID #: 69
☐ Infant's
☐ Note of Issue and/or Certificate of Readiness
☐ Notice of Medical, Dental, or Podiatric                      Date Issue Joined:
☐ Notice of Motion                            Relief Sought:                                                                         Return Date:
☐ Notice of Petition                          Relief Sought:                                                                         Return Date:
☐ Order to Show Cause                         Relief Sought:                                                                         Return Date:
☐ Other Ex Parte Application                  Relief Sought:
☐ Poor Person Application
☒ Request for Preliminary Conference
☐ Residential Mortgage Foreclosure Settlement
☐ Writ of Habeas Corpus
☐ Other
RELATED                           List any related actions. For Matrimonial actions, include any related criminal and/or Famiy Court cases.
                                     If additional space is required, complete and attach the RJI Addendum. If

Case Title                           Index/Case No.                    Court                                 Judge (if assigned)            Relationship to Instant




PARTIES              For parties without an attorney, check "Un-Rep" box AND enter party address, phone number and e-mail
                     address in space provided. If additional space is required, complete and attach the
          Parties:                                        Attorneys and/or Unrepresented Litigants:

          List parties in caption order and indicate       Provide attorney name, firm name, business address, phone number and e-         Issue
Un-                                                                                                                                                   Insurance Carrier(s):
          party role(s) (e.g., defendant; 3rd-party        mail address of all attorneys that have appeared in the case. For              Joined
Rep       plaintiff).                                      unrepresented litigants, provide address, phone number and e-mail address.     (Y/N):

         Name: Mastellos, Ignantios                       JOSEPH DELL, Dell & Dean, PLLC, 1225 Franklin Avenue, Suite 450 Suite
                                                          450, Garden City, NY 11530, (516) 880-9700, JDell@D2TrialLaw.com
 ☐       Role(s): Plaintiff/Petitioner
                                                                                                                                            YES



         Name: Mastellos, Erato                           JOSEPH DELL, Dell & Dean, PLLC, 1225 Franklin Avenue, Suite 450 Suite
                                                          450, Garden City, NY 11530, (516) 880-9700, JDell@D2TrialLaw.com
 ☐       Role(s): Plaintiff/Petitioner
                                                                                                                                            YES



         Name: Powermatic                                 JOSHUA LEE, Riley Safer Holmes & Cancila LLP, 70 W Madison St Ste 2900 ,
                                                          Chicago, IL 60602, jlee@rshc-law.com
 ☐       Role(s): Defendant/Respondent
                                                                                                                                            YES



         Name:


 ☐       Role(s):



         Name:


 ☐       Role(s):



I AFFIRM UNDER THE PENALTY OF PERJURY THAT, TO MY KNOWLEDGE, OTHER THAN AS NOTED ABOVE, THERE
ARE AND HAVE BEEN NO RELATED ACTIONS OR PROCEEDINGS, NOR HAS A REQUEST FOR JUDICIAL
INTERVENTION PREVIOUSLY BEEN FILED IN THIS ACTION OR PROCEEDING.

                       Dated             12/30/2016                                                                   JOSEPH GERARD DELL
                                                                                                                              SIGNATURE

                                2460459                                                                               JOSEPH GERARD DELL
                         ATTORNEY REGISTRATION                                                                        PRINT OR TYPE NAME
                                                                                This form was generated by
                                                                                      2 of 2
FILED: QUEENS COUNTY CLERK 01/24/2017 10:27 PM                                             INDEX NO. 704139/2016
        Case
NYSCEF DOC.   1:17-cv-00415-MKB-ST
            NO.  8                       Document 1-3 Filed 01/25/17 Page 44 of 55 PageID
                                                                           RECEIVED       #: 70
                                                                                     NYSCEF:  01/24/2017




         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF QUEENS


          IGNANTIOS MASTELLOS and
          ERATO MASTELLOS,                                    Index No.: 704139/2016

                                Plaintiffs,
                 -against-                                    JPW INDUSTRIES, INC.’S
                                                              RESPONSE TO PLAINTIFF’S
          POWERMATIC,                                         DEMAND FOR BILL OF
                                                              PARTICULARS
                                Defendant.



            JPW Industries, Inc. (improperly named as “Powermatic”) (“JPW”) responds to

         Plaintiff’s Demand for Bill of Particulars as follows:

         CULPABLE CONDUCT

            1. A statement of each and every act on the part of plaintiff, which constitutes
               plaintiffs alleged culpable conduct, which defendant contends, was the cause
               of plaintiff’s injuries.

            2. State the date of each specific act of culpable conduct by the plaintiff. Set forth
               the place where each alleged act of culpable conduct occurred. State what
               damages, if any, sustained by the plaintiff, which were caused or attributed to
               by reason of plaintiffs alleged culpable conduct.

            ANSWER: If JPW manufactured the saw at issue, and if Plaintiff’s allegations

         are correct, then, at the time, date, and place of Plaintiff’s accident, as alleged in

         Plaintiff’s complaint, Plaintiff was operating the saw in contravention to warnings

         and instructions provided by JPW, and Plaintiff should have been aware of the

         potential for injury in doing so. Furthermore, Plaintiff alleges that he was injured

         when his hand encountered an unguarded table saw blade, the risks of which

         should have been apparent to Plaintiff.


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 DUE CARE

    1. A statement of each and every act constituting the due care on the part of
       plaintiff, which it is alleged plaintiff, was required to use for plaintiffs own
       safety.

    2. Set forth in detail in what respect the alleged failure caused or contributed to
       these injuries and damages.

    3. State the date that each and every act occurred.

    ANSWER: If JPW manufactured the saw at issue, and if Plaintiff’s allegations

 are correct, then, at the time, date, and place of Plaintiff’s accident, as alleged in

 Plaintiff’s complaint, Plaintiff was operating the saw in contravention to warnings

 and instructions provided by JPW, and Plaintiff should have been aware of the

 potential for injury in doing so. Furthermore, Plaintiff alleges that he was injured

 when his hand encountered an unguarded table saw blade, the risks of which

 should have been apparent to Plaintiff.



 CONTRIBUTORY NEGLIGENCE

    1. State what damages, if any, sustained by the plaintiff, which were caused or
       attributed to by reason of plaintiffs alleged contributory negligence.

    2. State what specific contributory negligence the defendant is claiming that the
       plaintiff caused, participated in or which contributed to her injury.

    3. State the date or dates that each specific act of contributory negligence was
       committed by the plaintiff (asserting which specific acts or omissions on
       plaintiff's part caused or contributed to plaintiff’s injuries).

    ANSWER: If JPW manufactured the saw at issue, and if Plaintiff’s allegations

 are correct, then, at the time, date, and place of Plaintiff’s accident, as alleged in

 Plaintiff’s complaint, Plaintiff was operating the saw in contravention to warnings



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 and instructions provided by JPW, and Plaintiff should have been aware of the

 potential for injury in doing so. Furthermore, Plaintiff alleges that he was injured

 when his hand encountered an unguarded table saw blade, the risks of which

 should have been apparent to Plaintiff. Thus, if Plaintiff’s claims are correct, the

 damages he suffered were caused by his contributory negligence.



 LACK OF JURISDICTION

    1. State in what manner or what regard the defendant claims that this Court
       lacks jurisdiction over his person.

    2. The time, date and place where notice of this lawsuit was received.

    3. The manner in which it is claimed that the service of process actually effected
       was defective.

    4. Identify Defendant's complete residence address.

    5. Identify Defendant's complete mailing address, if different from his residence
       address.

    6. If it is claimed that process was not served in any form whatsoever, set forth a
       statement describing how notice of this lawsuit was obtained.

    ANSWER: Plaintiff misunderstands this defense. JPW is not claiming a defect in

 service, but a lack of jurisdiction. JPW is a corporation organized under the laws of the

 State of Washington, with its principal place of business in the State of Tennessee, and

 located at 427 New Sanford Road, LaVergne, Tennessee. Therefore, this court does not

 have general jurisdiction over JPW.

    The complaint also fails to establish specific jurisdiction over JPW. The serial

 number identified in Plaintiff’s complaint, 7956706, reveals that the saw was

 manufactured in 1979 by Houdaille’s Powermatic-Houdaille Division, not JPW.


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 Therefore, the complaint does not reveal a connection between JPW and the State of

 New York sufficient to establish specific jurisdiction over JPW.



 COMPARATIVE NEGLIGENCE

    1. State what damages, if any, sustained by the plaintiff, which were caused or
       attributed to by reason of plaintiff’s comparative negligence.

    2. State what specific comparative negligence the defendant is claiming that the
       plaintiff caused, participated in or which contributed to plaintiff’s injury.

    3. State the date or dates that each specific act of comparative negligence was
       committed by the plaintiff (asserting which specific acts or omissions on
       plaintiff’s part caused or contributed to plaintiff’s injuries).

    ANSWER: If Plaintiff’s allegations are correct, then, at the time, date, and place

 of Plaintiff’s accident, as alleged in Plaintiff’s complaint, Plaintiff was operating the

 saw in contravention to warnings and instructions provided by JPW, and Plaintiff

 should have been aware of the potential for injury in doing so. Furthermore, Plaintiff

 alleges that he was injured when his hand encountered an unguarded table saw

 blade, the risks of which should have been apparent to Plaintiff. Thus, if Plaintiff’s

 claims are correct, the damages he suffered were caused by his contributory

 negligence.



 SEATBELTS

    1. State in what manner it is alleged that the plaintiff failed to use seatbelts.

    2. Specify the type of seatbelts it is alleged that plaintiff failed to use.

    3. Specify in detail the names and addresses of any witness to the plaintiff’s
       failure to use seatbelts.




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    4. State in what manner the alleged failure to use seatbelts constitutes a failure
       to mitigate damages.

    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted this defense.



 INSURANCE LAW (ARTICLE 51)

    1. State in complete detail how plaintiffs' sole and exclusive remedy is confined
       and limited to the benefits and provisions of Article 51 of the Insurance Law
       of the State of New York.

    2. State in complete detail in what manner the defendants allege that the
       plaintiff failed to sustain a serious injury as defined by Section 5102(d) of the
       Insurance Law of the State of New York.

    3. State in what manner the plaintiff is barred from bringing this action by the
       provisions of the New York Comprehensive Automobile Insurance
       Reparations Act.

    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted this defense.



 ASSUMPTION OF RISK

    1. State in full detail what damages and/or injuries sustained by the Plaintiff,
       which were caused or contributed to, in whole or in part, by the assumption
       of risk on the part of the Plaintiff.

    2. State in full detail what risks and dangers connected with the occurrence at
       the time and place mentioned which were open, obvious, apparent and
       known to and assumed by the Plaintiff.

    3. In what manner the damages and/or injuries sustained by the plaintiff were
       contributed to, in whole or in part, by the culpable conduct on the part of the
       plaintiff.




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    4. State in complete detail the manner the plaintiff is not entitled recover any
       sums of money for economic loss pursuant to Article 51 of the New York
       State Insurance.

    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted a defense under “Article 51 of the New

 York State Insurance.” Subject to and without waiving its objections, JPW states: If

 JPW manufactured the saw at issue, and if Plaintiff’s allegations are correct, then, at

 the time, date, and place of Plaintiff’s accident, as alleged in Plaintiff’s complaint,

 Plaintiff was operating the saw in contravention to warnings and instructions

 provided by JPW, and Plaintiff should have been aware of the potential for injury in

 doing so. Furthermore, Plaintiff alleges that he was injured when his hand

 encountered an unguarded table saw blade, the risks of which should have been

 apparent to Plaintiff. Thus, if Plaintiff’s claims are correct, the damages he suffered

 were caused by his contributory negligence and assumption of the risk.



 BARRED BY ARTICLE 51, SECTION 5104

    1. State in complete detail how plaintiffs cause of action is barred by Article 51,
       Section 5104 of the Insurance Law of the State of New York.

    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted this defense.



 COLLATERAL SOURCE

    1. State in detail any and all collateral sources which the defendant alleges will
       reduce the verdict, judgment or settlement by the plaintiff, or, in specifically,
       the amount of money that will, with reasonably certainty, replace or



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        indemnify the plaintiff, in whole or in part, for any past or future claim for
        economic loss.

    ANSWER: Plaintiff mischaracterizes this defense. JPW has not stated that

 collateral sources payments have been. JPW has simply put plaintiff on notice that,

 if such payments have been made, any judgment must be reduced by the amount of

 the collateral source payments.



 OTHER PARTY CULPABILITY

    1. State in full detail the names and addresses of all other parties or equities
       whom the defendant alleges are liable by reason of relative culpability.

    ANSWER: If the subject saw was manufactured by JPW, and if the

 allegations in Plaintiff’s complaint are correct, Plaintiff’s complaint alleges that

 the saw was modified prior to Plaintiff’s accident. Furthermore, Plaintiff’s

 complaint indicates that, if the subject saw was manufactured by JPW, Plaintiff

 was operating the saw in contradiction to instructions and warnings supplied by

 JPW. Consequently, Plaintiff’s complaint alleges that the cause of Plaintiff’s

 accident was the supervening actions of others over whom JPW has no control,

 and who caused the alleged injuries. Plaintiff does not identify the persons

 responsible in his complaint; therefore, JPW does not have information sufficient to

 allow it to identify the persons at issue.



 ACTS OR OMISSIONS OF OTHER PARTIES

    1. State in full detail what damages and/or injuries sustained by the plaintiff,
       which were caused or contributed to, in whole or in part, by the acts or
       omissions of persons other than the defendant.


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    2. State in full detail the names and addresses of all other persons who
       committed these acts and/or omissions.

    ANSWER: If the subject saw was manufactured by JPW, and if the

 allegations in Plaintiff’s complaint are correct, Plaintiff’s complaint alleges that

 the saw was modified prior to Plaintiff’s accident. Furthermore, Plaintiff’s

 complaint indicates that, if the subject saw was manufactured by JPW, Plaintiff

 was operating the saw in contradiction to instructions and warnings supplied by

 JPW. Consequently, Plaintiff’s complaint alleges that the cause of Plaintiff’s

 accident was the supervening actions of others over whom JPW has no control,

 and who caused the alleged injuries. Plaintiff does not identify the persons

 responsible in his complaint; therefore, JPW does not have information sufficient to

 allow it to identify the persons at issue.



 PRE-EXISTING CONDITION

    1. State in full detail the pre-existing condition, which caused, in whole or in
       part, the injuries and conditions complained of.

    2. State the length of time the pre-existing condition existed.

    3. State in full detail the name and address of the person or entity that created
       the preexisting condition.

    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted this defense.



 FAILURE TO STATE A CAUSE OF ACTION

    1. State in detail how the plaintiffs Complaint fails to state a cause of action
       cognizable in law against the defendant.


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    2. State what element(s), if any, have not been alleged.

    ANSWER: If the subject saw was manufactured by JPW, and if the

 allegations in Plaintiff’s complaint are correct, Plaintiff’s complaint alleges that

 the saw was modified prior to Plaintiff’s accident. Furthermore, Plaintiff’s

 complaint indicates that, if the subject saw was manufactured by JPW, Plaintiff

 was operating the saw in contradiction to instructions and warnings supplied by

 JPW. Consequently, Plaintiff’s complaint alleges that the cause of Plaintiff’s

 accident was the supervening actions of others over whom JPW has no control,

 and who caused the alleged injuries. Moreover, Plaintiff’s complaint does not

 identify a saw manufactured or distributed by JPW or for which JPW can be held

 liable.



 ACTION BARRED BY STATUTE OF LIMITATIONS

    1. The specific statute, section and subsection pursuant to which this defense is
       asserted.

    2. State in complete detail how it is calculated that this matter is barred by
       Statute of Limitations.

    ANSWER: JPW withdraws this defense, and reserves the right to replead if

 warranted by discovery in this case.



 ACTION BARRED BY REASON OF FRAUD

    1. State in complete detail the specific acts of fraud by which this action is
       barred.

    2. State the dates and place of each specific act of the alleged fraud.



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    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted this defense.



 ARTICLE 16

    1. State in detail how each defendant is entitled to limitations of liability
       pursuant to CPLR Article 16.

    ANSWER: If JPW manufactured the saw at issue, and if Plaintiff’s allegations are

 correct, then, at the time, date, and place of Plaintiff’s accident, as alleged in Plaintiff’s

 complaint, Plaintiff’s complaint alleges that the saw was modified prior to

 Plaintiff’s accident. Furthermore, if Plaintiff’s claims are correct, and if JPW

 manufactured the saw at issue, Plaintiff was operating the saw in contravention to

 warnings and instructions provided by JPW, and Plaintiff should have been aware of

 the potential for injury in doing so. Furthermore, Plaintiff alleges that he was injured

 when his hand encountered an unguarded table saw blade, the risks of which should

 have been apparent to Plaintiff. Thus, if Plaintiff’s claims are correct, the damages he

 suffered were caused by the supervening acts of others, his contributory negligence,

 and his assumption of the risk. Thus, JPW’s liability, if any, will be less than 50% and

 JPW is entitled to the protections of CPLR Article 16.



 MITIGATE DAMAGES

    1. State in complete detail how it is claimed that the plaintiffs have failed to
       mitigate damages.

    ANSWER: JPW objects to this demand as vague, ambiguous, and irrelevant,

 especially because JPW has not asserted this defense.


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  DATED: January 24, 2017

                                          JPW INDUSTRIES, INC.


                                    By:     s/ Joshua D. Lee
                                                      One of Its Attorneys

                                          Joshua D. Lee
                                          Eliberty Lopez
                                          RILEY SAFER HOLMES & CANCILA LLP
                                          1330 Avenue of the Americas, 6th Floor
                                          New York, New York 10019
                                          (212) 660-1000




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                                ATTORNEY VERIFICATION

          Joshua Lee, an attorney duly admitted to practice before the Courts of the State of

 New York, affirms the following to be true:

          I am an attorney at Riley Safer Holmes & Cancila LLP, counsel for the Defendant

 JPW Industries, Inc. I have reviewed the foregoing RESPONSE TO PLAINTIFF’S DEMANDS

 FOR BILL OF PARTICULARS, and know the contents thereof. The statements made in the

 Response are true to my knowledge, except for those matters which are stated to be

 alleged on information or belief, and as to those matters, I believe them to be true. My

 belief as to those matters not alleged based on knowledge is based upon facts, records,

 and/or other pertinent information contained in my files.

          This verification is made by me, because JPW Industries, Inc. is not located in the

 county where I maintain my offices.



  Dated: January 24, 2017


                                                s/ Joshua D. Lee
                                                              Joshua D. Lee

                                                RILEY SAFER HOLMES & CANCILA LLP
                                                1330 Avenue of the Americas, 6th Floor
                                                New York, New York 10019
                                                (212) 660-1000


 4822-9455-5456, v. 1




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